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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

                        Plaintiff,
                                                              Civil Action No. 2:17-cv-192
                v.
                                                              JURY TRIAL DEMANDED
 CANON U.S.A., INC.,

                        Defendant.


        NOTICE OF SERVICE OF DEFENDANT CANON U.S.A., INC.’S INITIAL
            DISCLOSURES PURSUANT TO DOCKET CONTROL ORDER
                         AND DISCOVERY ORDER


        Defendant Canon U.S.A., Inc. pursuant to the Docket Control Order (Doc 35) and Discovery

 Order (Doc 34) of this court, files this Notice to inform the Court that on August 15, 2017, this

 defendant served its Initial Disclosures pursuant to the Docket Control Order and Discovery Order of

 the Court upon Plaintiff Display Technologies, LLC.

 Dated: August 15, 2017.                       Respectfully submitted,


                                               /s/ Guy N. Harrison
                                               Guy N. Harrison
                                               State Bar No. 00000077

                                               Harrison Law Firm
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                                               ATTORNEY FOR DEFENDANT
                                               CANON U.S.A., INC.
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 15, 2017, I electronically filed the foregoing document with

 the Clerk of Court using the CM/ECF system which will send notification of such filing via

 electronic mail to all counsel of record.

                                                      /s/ Guy N. Harrison
                                                      Guy N. Harrison
